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   14 Attorneys for Defendant
   15 REDBUBBLE INC.
   16                      UNITED STATES DISTRICT COURT
   17        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   18
   19 Y.Y.G.M. SA d.b.a. BRANDY           Case No. 2:19-cv-04618-RGK (JPRx)
      MELVILLE, a Swiss corporation,
   20                                     DECLARATION OF JOSHUA M. MASUR
                         Plaintiff,       IN SUPPORT OF DEFENDANT
   21                                     REDBUBBLE INC.’S MOTION IN
           v.
   22                                     LIMINE NO. 5 TO EXCLUDE EVIDENCE
      REDBUBBLE INC.,                     AND ARGUMENT OF ALLEGED
   23                                     ACTUAL CONFUSION
                         Defendant.
   24
                                          [Filed concurrently with Notice of Motion and
   25                                     Motion in Limine; [Proposed] Order]
   26                                     Hearing Date: June 30, 2020
                                          Time:         9:00 a.m.
   27                                     Courtroom:    850
                                          Hon. R. Gary Klausner
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    1                     DECLARATION OF JOSHUA M. MASUR
    2         I, Joshua M. Masur, declare as follows:
    3         1.    I am an attorney duly admitted to practice before this Court. I am a
    4 partner with Zuber Lawler & Del Duca LLP, attorneys of record for Defendant
    5 Redbubble Inc. I have personal knowledge of the facts stated herein, and if called to
    6 testify, I could competently do so.
    7         2.    Attached hereto as Exhibit F is a true and correct copy of Plaintiff’s
    8 Responses to Redbubble’s First Set of Interrogatories, served on November 25,
    9 2019.
   10         I declare under penalty of perjury under the laws of the United States of
   11 America that the foregoing is true and correct.
   12         Executed on this 15th day of May, 2020, at Redwood City, California.
   13
   14                                                /s/ Joshua M. Masur
   15                                                Joshua M. Masur
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